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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,           )
                                    )
                  Plaintiff,        )
                                    )                         CRIMINAL ACTION
v.                                  )
                                    )                         No. 10-20076-07-KHV
TANISHA YOUNG,                      )
                                    )
                  Defendant.        )
____________________________________)

                                MEMORANDUM AND ORDER

       On July 12, 2011, the Court sentenced defendant to 97 months in prison. This matter is

before the Court on defendant’s letter (Doc. #528) which the Court received on May 15, 2012, and

which the Court construes as a motion to reduce sentence. For reasons stated below, the Court

overrules defendant’s motion.

       Defendant asks the Court to reduce her sentence because of family circumstances. A federal

district court may modify a defendant’s sentence only where Congress has expressly authorized it

to do so. United States v. Blackwell, 81 F.3d 945, 947 (10th Cir. 1996); see 18 U.S.C. § 3582(c).

Congress has set forth three limited circumstances in which a court may modify a sentence: (1) upon

motion of the Director of the Bureau of Prisons in extraordinary circumstances or where defendant

has reached 70 years of age and has served at least 30 years in prison; (2) when “expressly permitted

by statute or by Rule 35;” and (3) when defendant has been sentenced “based on a sentencing range

that has subsequently been lowered by the Sentencing Commission.” 18 U.S.C. § 3582(c)(1), (2);

see Blackwell, 81 F.3d at 947-48. None of these exceptions apply here. Defendant has not cited any

statute which authorizes the Court to modify her sentence. Moreover, Rules 35 and 36 of the

Federal Rules of Criminal Procedure clearly do not authorize a substantive modification of
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defendant’s sentence at this time. See id.; Fed. R. Crim. P. 35 (authorizes resentencing to correct

illegal sentence on remand from court of appeals, to reflect defendant’s substantial assistance on

motion of the government, and to correct arithmetical, technical or other clear error within seven

days of sentencing); Fed. R. Crim. P. 36 (authorizes court to correct clerical-type errors). Finally,

the Court does not have inherent authority to resentence defendant. See Blackwell, 81 F.3d at 949.

For these reasons, the Court does not have jurisdiction to resentence defendant at this time.

       IT IS THEREFORE ORDERED that defendant’s letter (Doc. #528) which the Court

received on May 15, 2012, and which the Court construes as a motion to reduce sentence, be and

hereby is OVERRULED.

       Dated this 20th day of June, 2012 at Kansas City, Kansas.

                                              s/ Kathryn H. Vratil
                                              KATHRYN H. VRATIL
                                              United States District Judge




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